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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                    Debtors.1                          (Jointly Administered)


         MOTION TO SHORTEN NOTICE PERIOD AND SCHEDULE HEARING
        WITH RESPECT TO THE MOTION FOR (I) AN ORDER (A) APPROVING
     BID PROCEDURES FOR THE SALE OF THE DEBTORS’ LAB-TO-MARKET™
         ASSETS; (B) SETTING MINIMUM RESERVE PRICE; (C) SCHEDULING
        THE AUCTION AND SALE HEARING; (D) APPROVING THE FORM AND
    MANNER OF NOTICE THEREOF; AND (E) GRANTING RELATED RELIEF; AND
     (II) AN ORDER OR ORDERS (A) APPROVING THE SALE OF THE DEBTORS’
     LAB-TO-MARKET™ ASSETS FREE AND CLEAR OF ALL ENCUMBRANCES;
             AND (B) APPROVING THE ASSUMPTION AND ASSIGNMENT
              OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                   The above-captioned debtors and debtors in possession (the “Debtors”) in the

above-captioned chapter 11 cases (the “Chapter 11 Cases”) file this motion to shorten time (the

“Motion to Shorten”), requesting that the Court shorten the notice period and schedule a hearing

regarding the Motion for (I) an Order (A) Approving Bid Procedures for the Sale of the Debtors’

Lab-To-Market™ Assets; (B) Setting Minimum Reserve Price; (C) Scheduling the Auction and

Sale Hearing; (D) Approving the Form and Manner of Notice Thereof; and (E) Granting Related

Relief; and (II) an Order or Orders (A) Approving the Sale of the Debtors’ Lab-To-Market™

Assets Free and Clear of All Encumbrances; and (B) Approving the Assumption and Assignment




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     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
     place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.



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of Executory Contracts and Unexpired Leases (the “Motion”),2 filed concurrently herewith. In

support of the Motion to Shorten, the Debtors respectfully represent as follows:

                                                 Relief Requested

                   1.           By this Motion to Shorten, pursuant to section 105(a) of title 11 of the

United States Code (the “Bankruptcy Code”), Rule 9006 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 9006-1(c) and (e) of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware (the

“Local Rules”), the Debtors respectfully request entry of an order (the “Proposed Order”):

(a) shortening notice on the Motion; (b) setting a hearing to consider the Motion before the United

States Bankruptcy Court for the District of Delaware (the “Court”) on December 20, 2023 at

3:00 p.m. (prevailing Eastern Time) (the “Hearing”); and (c) granting such other and further relief

as the Court deems just and proper.

                                              Jurisdiction and Venue

                   2.           The United States District Court for the District of Delaware has jurisdiction

over this matter pursuant to 28 U.S.C. § 1334, which was referred to the Court under 28 U.S.C.

§ 157 pursuant to the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated February 29, 2012. This matter is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2), and the Debtors confirm their consent pursuant to Local Rule

9013-1(f) to the entry of a final order by the Court in connection with this Motion to Shorten to

the extent that it is later determined that the Court, absent consent of the parties, cannot enter final

orders or judgments in connection herewith consistent with Article III of the United

States Constitution.


2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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                   3.           Venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                   4.           The statutory bases for the relief requested herein are section 105(a) of the

Bankruptcy Code, Bankruptcy Rule 9006, and Local Rule 9006-1(c) and (e).

                                                    Background

                   5.           On August 9 and August 21, 2023 (as applicable, the “Petition Date”), each

Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtors

are operating their businesses and managing their properties as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. No request for the appointment of a trustee

or examiner has been made in the Chapter 11 Cases.

                   6.           On August 27, 2023, the Office of the United States Trustee (the

“U.S. Trustee”) appointed an Official Committee of Unsecured Creditors (the “Committee”)

including the following: U.S. Bank Trust Co. NA; Cosan U.S. Inc.; Sartorius Stedim North

America Inc.; Hearst Magazine Media Inc.; Wiley Companies; Park Wynwood LLC; and Allog

Participacoes Ltda.

                   7.           The Chapter 11 Cases are being jointly administered for procedural

purposes only pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1.

                   8.           A detailed description of the Debtors’ business and facts precipitating the

filing of the Debtors’ chapter 11 proceedings are set forth in the Declaration of Han Kieftenbeld

in Support of the Debtors’ Chapter 11 Petitions and First Day Relief (the “First Day Declaration”)

[Docket No. 18], incorporated herein by reference.3




3
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
    First Day Declaration.



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                                                  Basis for Relief

                   9.           Local Rule 9006-1 provides that, unless the Bankruptcy Rules or the Local

Rules state otherwise, “all motion papers shall be filed and served in accordance with Local Rule

2002-1(b) at least fourteen (14) days prior to the hearing date.” Del. Bankr. L.R. 9006-1(c)(i).

“Sale Procedure Motions filed pursuant to Local Rule 6004-1(c) . . . must be filed at least twenty-

one (21) days prior to the hearing date.” Id. Local Rule 9006-1 further provides, in pertinent part,

that “[n]o motion will be scheduled on less notice than required by these Local Rules or the Fed.

R. Bankr. P. except by order of the Court, on written motion . . . specifying the exigencies

justifying shortened notice.” Del. Bankr. L.R. 9006-1(e). Local Rule 9006-1 requires that “the

deadline for objection(s) shall be seven (7) days before the hearing date.”                   Del. Bankr.

L.R. 9006-1(c)(ii).

                   10.          Bankruptcy Rule 9006 authorizes the Court, for cause shown, to reduce

notice periods for motions and to do so on an ex parte basis. See Fed. R. Bankr. P. 9006(c)(1)

(“[W]hen an act is required or allowed to be done at or within a specified time by these rules or by

a notice given thereunder or by order of court, the court for cause shown may in its discretion with

or without motion or notice order the period reduced.”); see also In re Chateaugay Corp., 111 B.R.

399, 407–08 (S.D.N.Y. 1990) (affirming the bankruptcy court’s decision to shorten a notice period

where there was no prejudice to the non-moving party and where cause was shown).

                   11.          The exigencies justify shortening notice of the Motion, which is subject to

the 21-day notice period in Local Rule 9006-1. Under the terms of the Amended & Restated Plan

Support Agreement, dated December 12, 2023, among the Debtors, Foris Prepetition Secured

Lenders, DIP Lenders, the Official Committee of Unsecured Creditors (the “Creditors’

Committee”), Consenting Noteholders and other parties (the “Plan Support Agreement”), the




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Debtors are required to initiate a sale process for the Lab-to-Market™ Assets (the “Sale Process”)

immediately. Pursuant to the terms of the Plan Support Agreement and the DIP Facility, the

Debtors are required to (i) obtain entry of the Bid Procedures Order by no later than December

20, 2023, and (ii) obtain entry of an order approving the Sale(s), no later than January 25, 2024.

In addition, the terms of the DIP Facility requires that the Closing occur no later than February

9, 2024.

                   12.           Without shortened notice, the Debtors will be in breach of the terms of the

Plan Support Agreement, the Sale Process would be disrupted and the delay would interfere with

the Debtors’ efforts to pursue the sale or sales described in the Motion, to the detriment of the

Debtors’ estates, creditors, and stakeholders. Moreover, there will be no prejudice to other parties

in granting the relief requested in this Motion to Shorten.

                   13.          For these reasons, the Debtors respectfully request that the Court shorten

notice of the Motion to have it heard on December 20, 2023 at 3:00 p.m. (prevailing Eastern Time).

                   14.          Parties in interest will receive a copy of the Motion via email or overnight

mail as of the filing date. A copy of the Motion is also available on the Debtors’ case website at

https://cases.stretto.com/amyris/. Accordingly, shortening notice for the Motion will not unduly

prejudice any parties in interest.

                                     Compliance with Local Rule 9006-1(e)

                   15.          Before filing this Motion to Shorten, counsel to the Debtors notified the

U.S. Trustee, counsel for the Committee, counsel for the Ad Hoc Noteholder Group, counsel for

Lavvan and counsel for the Ad Hoc Cross-Holder Group of their intention to seek shortened notice

with respect to the Motion. The U.S. Trustee does not object to shortened notice. The Committee,




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Lavvan and the Ad Hoc Noteholder Group do not object to shortened notice. The Debtors have

not heard back from the Ad Hoc Cross-Holder Group.

                                                      Notice

                   16.          Notice of this Motion to Shorten will be provided by electronic mail or

overnight delivery to the following parties, or, in lieu thereof, their counsel, if known: (a) the

Office of the U.S. Trustee for the District of Delaware; (b) counsel to the Committee; (c) counsel

to the DIP Lenders, DIP Agent, and the Foris Prepetition Secured Lenders; and (d) any party that

requests service pursuant to Bankruptcy Rule 2002. The Motion is also available on the Debtors’

case website at https://cases.stretto.com/amyris/, and the Motion will also be served on the above

parties by electronic mail or overnight delivery. The Debtors submit that no other or further notice

need be provided.

                                                No Prior Request

                   17.          No prior request for the relief sought in this Motion to Shorten has been

made to this Court or any other court.

                   WHEREFORE, the Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and granting such other and further relief as the Court deems

just and proper.




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 Dated: December 14, 2023                      PACHULSKI STANG ZIEHL & JONES LLP

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                                        Exhibit A

                                     Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors.1                          (Jointly Administered)
                                                                      Ref. Docket No. ____


        ORDER SHORTENING NOTICE PERIOD AND SCHEDULING HEARING
        WITH RESPECT TO THE MOTION FOR (I) AN ORDER (A) APPROVING
     BID PROCEDURES FOR THE SALE OF THE DEBTORS’ LAB-TO-MARKET™
         ASSETS; (B) SETTING MINIMUM RESERVE PRICE; (C) SCHEDULING
        THE AUCTION AND SALE HEARING; (D) APPROVING THE FORM AND
    MANNER OF NOTICE THEREOF; AND (E) GRANTING RELATED RELIEF; AND
     (II) AN ORDER OR ORDERS (A) APPROVING THE SALE OF THE DEBTORS’
     LAB-TO-MARKET™ ASSETS FREE AND CLEAR OF ALL ENCUMBRANCES;
             AND (B) APPROVING THE ASSUMPTION AND ASSIGNMENT
              OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES


                   Upon consideration of the motion (the “Motion to Shorten”)2 of the above-captioned

debtors and debtors-in-possession (collectively, the “Debtors”) for the entry of an order (this

“Order”): (a) shortening notice with respect to the Motion for (I) an Order (A) Approving Bid

Procedures for the Sale of the Debtors’ Lab-To-Market™ Assets; (B) Setting Minimum Reserve

Price; (C) Scheduling the Auction and Sale Hearing; (D) Approving the Form and Manner of

Notice Thereof; and (E) Granting Related Relief; and (II) an Order or Orders (A) Approving the

Sale of the Debtors’ Lab-To-Market™ Assets Free and Clear of All Encumbrances; and

(B) Approving the Assumption and Assignment of Executory Contracts and Unexpired Leases (the



1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.
2
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion to Shorten.



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“Motion”); (b) setting a hearing on the Motion before this Court on December 20, 2023 at

3:00 p.m. (prevailing Eastern Time) (the “Hearing”); and (c) granting related relief, all as more

fully set forth in the Motion to Shorten; and upon consideration of the First Day Declaration; and

the United States District Court for the District of Delaware having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to

the Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that it may enter a final order

consistent with Article III of the United States Constitution; and the Court having found that venue

of this proceeding and the Motion to Shorten in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and due, sufficient, and proper notice of the Motion to Shorten having been provided

under the circumstances and in accordance with the Bankruptcy Rules and the Local Rules, and it

appearing that no other or further notice need be provided; and the Court having found cause for

the relief requested in the Motion to Shorten pursuant to Local Rule 9006-1(e); and the Court

having found and determined that the relief sought in the Motion to Shorten is in the best interests

of the Debtors, their estates, their creditors, their stakeholders, and all other parties in interest, and

that the legal and factual bases set forth in the Motion to Shorten establish just cause for the relief

granted herein; and after due deliberation and sufficient cause appearing therefor;

                   IT IS HEREBY ORDERED THAT:

                   1.           The Motion to Shorten is GRANTED as set forth herein.

                   2.           The Motion will be considered by the Court on December 20, 2023 at

3:00 p.m. (prevailing Eastern Time) (the “Hearing”).




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                   3.           Any response or objection to the Motion must be filed in advance of the

Hearing no later than December 19, 2023, at 5:00 p.m.

                   4.           This Court shall retain exclusive jurisdiction to hear and determine all

matters arising from or related to the interpretation, implementation, or enforcement of this Order.




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